              Case 2:19-bk-24804-VZ Doc 583 Filed 04/15/20 Entered 04/15/20 21:08:25                                      Desc
                             UNITED STATES DEPARTMENT
                                      Main Document     OF JUSTICE
                                                      Page 1 of 18
                             OFFICE OF THE UNITED STATES TRUSTEE
                                CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                       CHAPTER 11 (NON-BUSINESS)

    YUETING JIA,                                                             Case Number:             2:19-bk-24804-VZ
                                                                             Operating Report Number:                    6
                                                         Debtor(s).          For the Month Ending:                  Mar-20

                                         I. CASH RECEIPTS AND DISBURSEMENTS
                                                A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                      $      151,547.15

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                  105,443.39
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                46,103.76

4. RECEIPTS DURING CURRENT PERIOD                                                                                    24,913.81
   See ** below
5. BALANCE:                                                                                                          71,017.57

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD                                                                    1,737.08

7. ENDING BALANCE:                                                                                                   69,280.49

8. General Account Number(s):                                                                         7987

    Depository Name & Location:                                              Wells Fargo Bank
                                                                             1403 Sartori Ave, Torrance, CA 90501


* All receipts must be deposited into the general account.
** Debtor's sources of income include W2 income from Faraday Future ($25,000 bi monthly - gross)
   and from Warmtime, Inc., from whom Debtor receives rental income for the sublease of real
   property located at 7 Marguerite Dr., Rancho Palos Verdes, CA 90275; 11 Marguerite Dr., Rancho
   Palos Verdes, CA 90275; 15 Marguerite Dr., Rancho Palos Verdes, CA 90275; and 19 Marguerite Dr.,
   Rancho Palos Verdes, CA 90275
   Rent for these properties has been prepaid through May 2020




                                                                          Page 1 of 8
            Case 2:19-bk-24804-VZ    Doc 583FROM
                          TOTAL DISBURSEMENTS  Filed 04/15/20
                                                  GENERAL       Entered
                                                          ACCOUNT        04/15/20
                                                                  FOR CURRENT PERIOD21:08:25            Desc
                                       Main Document      Page 2 of 18
  Date     Check
mm/dd/yyyy Number                   Payee                                  Purpose                               Amount
  3/2/2020        The Strand Ho Manhattan Bea     Food                                                       $       205.00
  3/2/2020        Wholefds Rdb 10024 Redondo      Food                                                                41.98
  3/4/2020        Think Prime Rch Palos Vrd CA    Food                                                               290.52
  3/5/2020        Tea Station Garden Gardena CA   Food                                                                40.25
  3/5/2020        Boiling Point                   Food                                                                20.70
  3/5/2020        Starbucks                       Food                                                                25.30
  3/6/2020        Paradise                        Food                                                                36.14
  3/9/2020        Boiling Point                   Food                                                                44.02
  3/9/2020        O Youngs Rock Pot               Food                                                                65.00
 3/10/2020        Chevron                         Gas                                                                 66.94
 3/11/2020        Tea Station                     Food                                                                76.00
 3/12/2020        DBA United PA Wilmington        Gas                                                                 47.51
 3/12/2020        Transperfect 2126895555 NY      Translation services                                               455.00
 3/16/2020        Starbucks Store                 Food                                                                13.35
 3/16/2020        Pp*Felix Design                 Hair Cut                                                            57.50
 3/16/2020        Trader Joe's                    Food                                                                22.25
 3/19/2020        Starbucks                       Food                                                                  9.80
 3/23/2020        Nike.Com                        Cloth                                                              153.30
 3/23/2020        7-Eleven                        Gas                                                                 66.52




                                                                          TOTAL DISBURSEMENTS THIS PERIOD:          1,737.08




                                                            Page 2 of 8
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                                                              GENERAL
                                                           Main        ACCOUNT
                                                                Document    Page 3 of 18
                                                            BANK RECONCILIATION

                           Bank statement Date:                             3/31/2020 Balance on Statement:   69,280.49

Plus deposits in transit (a):
                                                                      Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                    Check Number                                       Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                     69,280.49

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:

* It is acceptable to replace this form with a similar form                Page 3 of 8
** Please attach a detailed explanation of any bank statement adjustment
          Case 2:19-bk-24804-VZ Doc 583 Filed 04/15/20 Entered 04/15/20 21:08:25                Desc
                   II. STATUS OF PAYMENTS   TO SECURED
                                   Main Document   PageCREDITORS,
                                                        4 of 18   LESSORS
                         AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                      Post-Petition
                           Frequency of Payments                   payments not made
 Creditor, Lessor, Etc.          (Mo/Qtr)        Amount of Payment     (Number)          Total Due
N/A                       N/A                    N/A               N/A               N/A




                                                                          TOTAL DUE:                   0.00


                                                V. INSURANCE COVERAGE

                                                         Amount of    Policy Expiration     Premium Paid
                              Name of Carrier            Coverage           Date            Through (Date)
      General Liability N/A                        N/A               N/A                  N/A
 Worker's Compensation N/A                         N/A               N/A                  N/A
              Casualty N/A                         N/A               N/A                  N/A
               Vehicle N/A                         N/A               N/A                  N/A
               Others: N/A                         N/A               N/A                  N/A




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               Case 2:19-bk-24804-VZ                       Doc 583 Filed 04/15/20 Entered 04/15/20 21:08:25                               Desc
                                                         I.D SUMMARY  SCHEDULE
                                                             Main Document   PageOF5CASH*
                                                                                    of 18
ENDING BALANCES FOR THE PERIOD:
                                       (Provide a copy of of montly account statements for each of the below)


                                                                               General Account:                               69,280.49
                                                                               Payroll Account:
                                                                                Tax Account**:                                  965.00
            *Other Accounts:


               *Other Monies:
                                           Petty Cash (from below)

TOTAL CASH AVAILABLE:                                                                                                                      70,245.49


Petty Cash Transactions:
          Date                                       Purpose                                                           Amount

*See Exhibit 1 attached
hereto




TOTAL PETTY CASH TRANSACTIONS:



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




                                                                                  Page 5 of 8
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                             VI. UNITED STATES
                                      Main      TRUSTEE
                                            Document    QUARTERLY
                                                      Page 6 of 18 FEES
                                          (TOTAL PAYMENTS)

 Quarterly Period                Total                                                                                                       Quarterly Fees
  Ending (Date)              Disbursements               Quarterly Fees                  Date Paid                Amount Paid                 Still Owing
    31-Dec-2019                   30,707.31                      650.00                   27-Jan-2020                   650.00                          0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
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                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report




                                                                             Page 6 of 8
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                             VI SCHEDULE OFDocument
                                      Main COMPENSATIONPagePAID  TO INSIDERS
                                                            7 of 18
                                                           Date of Order                                                     Gross
                                                            Authorizing                                                 Compensation Paid
             Name of Insider                               Compensation                  *Authorized Gross Compensation During the Month
N/A                                                N/A                                   N/A                           N/A




                                     VII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                                   Amount Paid
             Name of Insider                               Compensation                           Description           During the Month
N/A                                                N/A                                   N/A                           N/A




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
                                                                              Page 7 of 8
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                                        Main XI. QUESTIONNAIRE
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                                                                                                            No   Yes
1. Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as
   have been authorized by the court? If "Yes", explain below:                                              X


                                                                                                            No   Yes
2. Has the debtor-in-possession during this reporting period provided compensation or remuneration
   to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
   explain below:                                                                                           X


3. State what progress was made during the reporting period toward filing a plan of reorganization
     On March 20, 2020, the Court entered an order approving the Debtor's 4th Amended Disclosure
     Statement and corresponding Amended Plan Solicitation Procedures Motion.




4.
   Describe potential future developments which may have a significant impact on the case:
   Hearings regarding the debtor's objections to certain claims and applications for compensation and
   reimbursement filed by the debtor's and creditors' committee's professionals are scheduled to take
5. Attach copies of all Orders granting relief from the automatic stay that were entered during the
   reporting period.
                                                                                                            No   Yes
6. Did you receive any exempt income this month, which is not set forth in the operating report? If
   "Yes", please set forth the amounts and sources of the income below.                                     X


I,   Yueting Jia,
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




     ________________________                            ______________________________________________
     Date                                            Page 8 of 8            Principal for debtor-in-possession
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Exhibit 1

As disclosed in the Debtor's Schedules filed on
October 17, 2019, the Debtor's assets in the
Peoples' Republic of China have been frozen
and, as such, the Debtor has no visibility as
to those assets.
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                                                                                                           Questions?
YUETING JIA                                                                                                Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESION
CH11 CASE #19-24804 (CCA)                                                                                    1-800-742-4932
7 MARGUERITE DR                                                                                              TTY: 1-800-877-4833
RANCHO PALOS VERDES CA 90275-4476                                                                            En español: 1-877-727-2932

                                                                                                                    1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (114)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           ✓     Direct Deposit          ✓
                                                                                                           Online Bill Pay                Auto Transfer/Payment
                                                                                                           Online Statements        ✓     Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report       ✓     Overdraft Service




Activity summary                                                                                           Account number:              7987
       Beginning balance on 3/1                                      $46,103.76                            YUETING JIA
       Deposits/Additions                                             24,913.81                            DEBTOR IN POSSESION
                                                                                                           CH11 CASE #19-24804 (CCA)
       Withdrawals/Subtractions                                       - 1,737.08
                                                                                                           California account terms and conditions apply
       Ending balance on 3/31                                       $69,280.49
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 121042882



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (114)
      Sheet Seq = 0143969
      Sheet 00001 of 00002
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Transaction history

                          Check                                                                                  Deposits/        Withdrawals/         Ending daily
       Date              Number Description                                                                     Additions         Subtractions             balance
       3/2                      Faraday & Future Direct Dep 200302 664060777045Xt9                              14,102.32
                                Jia,Yueting
       3/2                      Purchase authorized on 02/28 Tst* The Strand Ho Manhattan Bea                                           205.00
                                CA S460059785771070 Card 6155
       3/2                      Purchase authorized on 02/28 Wholefds Rdb 10024 Redondo                                                  41.98           59,959.10
                                Beach CA S460059805010205 Card 6155
       3/4                      Purchase authorized on 03/02 Think Prime Rch Palos Vrd CA                                               290.52           59,668.58
                                S580063203572716 Card 6155
       3/5                      Purchase authorized on 03/03 Tea Station Garden Gardena CA                                               40.25
                                S580063715081735 Card 6155
       3/5                      Purchase authorized on 03/03 Boiling Point Gard Gardena CA                                               20.70
                                S580063740992792 Card 6155
       3/5                      Purchase authorized on 03/03 Starbucks Store 05 Gardena CA                                               25.30           59,582.33
                                S300063749452323 Card 6155
       3/6                      Purchase authorized on 03/04 Paradise Restauran Gardena CA                                               36.14           59,546.19
                                S380064693647809 Card 6155
       3/9                      Purchase authorized on 03/05 Boiling Point Gard Gardena CA                                               44.02
                                S460065734307528 Card 6155
       3/9                      Purchase authorized on 03/06 O Youngs Rock Pot Gardena CA                                                65.00           59,437.17
                                S460066773017502 Card 6155
       3/10                     Purchase authorized on 03/09 Chevron 0207124 Gardena CA                                                  66.94           59,370.23
                                S580069635898152 Card 6155
       3/11                     Purchase authorized on 03/09 Tea Station Garden Gardena CA                                               76.00           59,294.23
                                S460069696318236 Card 6155
       3/12                     Purchase authorized on 03/10 76 - DBA United PA Wilmington                                               47.51
                                CA S580071093607556 Card 6155
       3/12                     Purchase authorized on 03/11 Transperfect 2126895555 NY                                                 455.00           58,791.72
                                S380071617019771 Card 6155
       3/13                     Faraday & Future Direct Dep 200313 757052120966Xt9                               8,773.64                                67,565.36
                                Jia,Yueting
       3/16                     Purchase authorized on 03/13 Starbucks Store 05 Rolling Hills CA                                         13.35
                                S300074009723442 Card 6155
       3/16                     Purchase authorized on 03/13 Pp*Felix Design St Palos Verdes                                             57.50
                                CA S580074022200685 Card 6155
       3/16                     Purchase authorized on 03/15 Trader Joe's #233 Rancho Palos CA                                           22.25           67,472.26
                                S300075838749659 Card 6155
       3/19                     Purchase authorized on 03/17 Starbucks Store 06 Carson CA                                                  9.80          67,462.46
                                S580077629239376 Card 6155
       3/23                     Purchase authorized on 03/21 Nike.Com 800-806-6453 OR                                                   153.30
                                S580082087762254 Card 6155
       3/23                     Purchase authorized on 03/22 7-Eleven Rancho Palos CA                                                    66.52           67,242.64
                                P00000000875511079 Card 6155
       3/31                     Faraday & Future Direct Dep 200331 718076854944Xt9                               2,037.85                                69,280.49
                                Jia,Yueting
       Ending balance on 3/31                                                                                                                           69,280.49
       Totals                                                                                                 $24,913.81            $1,737.08

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 03/01/2020 - 03/31/2020                                                Standard monthly service fee $10.00                You paid $0.00
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Monthly service fee summary (continued)

      How to avoid the monthly service fee                                               Minimum required    This fee period


                                                                                                                               3
      Have any ONE of the following account requirements


                                                                                                                               3
        · Minimum daily balance                                                                  $1,500.00       $46,103.76    ✔



                                                                                                                               3
        · Total amount of qualifying direct deposits                                              $500.00        $24,913.81    ✔

        · Total number of posted debit card purchases or posted debit card payments of                  10               19    ✔

          bills in any combination
        · The fee is waived when the account is linked to a Wells Fargo Campus ATM or
          Campus Debit Card

      Monthly service fee discount(s) (applied when box is checked)
      Age of primary account owner is 17 - 24 ($10.00 discount)
      RC/RC
                                                                        3




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Worksheet to balance your account                                         General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your      ■    To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest        Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or          dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement             furnished to a consumer reporting agency by writing to us at Overdraft
period.                                                                        Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
A Enter the ending balance on this statement.             $                    describe the specific information that is inaccurate or in dispute and the
                                                                               basis for the dispute along with supporting documentation. If you believe
 B List outstanding deposits and other                                         the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on                                  with an identity theft report.
this statement. Enter the total in the column
                                                                          ■    In case of errors or questions about your electronic transfers,
to the right.
                                                                               telephone us at the number printed on the front of this statement or write
                                                                               us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
Description                     Amount
                                                                               you can, if you think your statement or receipt is wrong or if you need more
                                                                               information about a transfer on the statement or receipt. We must hear
                                                                               from you no later than 60 days after we sent you the FIRST statement on
                                                                               which the error or problem appeared.
                                                                               1. Tell us your name and account number (if any).
                                                                               2. Describe the error or the transfer you are unsure about, and explain as
                                                                                  clearly as you can why you believe it is an error or why you need more
                   Total   $                           + $
                                                                                  information.
                                                                               3. Tell us the dollar amount of the suspected error.
C Add A and B to calculate the subtotal.               = $
                                                                               We will investigate your complaint and will correct any error promptly. If
 D List outstanding checks, withdrawals, and                                   we take more than 10 business days to do this, we will credit your account
other debits to your account that do not appear                                for the amount you think is in error, so that you will have the use of the
on this statement. Enter the total in the column                               money during the time it takes us to complete our investigation.
to the right.

Number/Description              Amount




                   Total   $                           -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                                                                   . NMLSR D 399801
                                                                              ©2010 Wells Fargo Bank, N.A. All rights reserved
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                                                                                                           Questions?
YUETING JIA                                                                                                Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESION
CH11 CASE #19-24804 (CCA)                                                                                    1-800-742-4932
7 MARGUERITE DR                                                                                              TTY: 1-800-877-4833
RANCHO PALOS VERDES CA 90275-4476                                                                            En español: 1-877-727-2932

                                                                                                                    1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (114)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           ✓     Direct Deposit
                                                                                                           Online Bill Pay          ✓     Auto Transfer/Payment
                                                                                                           Online Statements        ✓     Overdraft Protection
                                                                                                           Mobile Banking           ✓     Debit Card
                                                                                                           My Spending Report       ✓     Overdraft Service




Activity summary                                                                                           Account number:              7979
       Beginning balance on 3/1                                         $975.00                            YUETING JIA
       Deposits/Additions                                                   0.00                           DEBTOR IN POSSESION
                                                                                                           CH11 CASE #19-24804 (CCA)
       Withdrawals/Subtractions                                          - 10.00
                                                                                                           California account terms and conditions apply
       Ending balance on 3/31                                           $965.00
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 121042882



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (114)
      Sheet Seq = 0143967
      Sheet 00001 of 00002
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Transaction history

                          Check                                                                                 Deposits/         Withdrawals/         Ending daily
       Date              Number Description                                                                     Additions         Subtractions             balance
       3/31                     Monthly Service Fee                                                                                      10.00              965.00
       Ending balance on 3/31                                                                                                                                 965.00
       Totals                                                                                                       $0.00               $10.00

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 03/01/2020 - 03/31/2020                                                Standard monthly service fee $10.00               You paid $10.00

       How to avoid the monthly service fee                                                                Minimum required                 This fee period


                                                                                                                                                                3
       Have any ONE of the following account requirements


                                                                                                                                                                3
         · Minimum daily balance                                                                                    $1,500.00                      $975.00


                                                                                                                                                                3
         · Total amount of qualifying direct deposits                                                                $500.00                         $0.00
         · Total number of posted debit card purchases or posted debit card payments of                                    10                            0
           bills in any combination
         · The fee is waived when the account is linked to a Wells Fargo Campus ATM or
           Campus Debit Card

       Monthly service fee discount(s) (applied when box is checked)
       Age of primary account owner is 17 - 24 ($10.00 discount)
       RC/RC
                                                                            3
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Worksheet to balance your account                                         General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your      ■    To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest        Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or          dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement             furnished to a consumer reporting agency by writing to us at Overdraft
period.                                                                        Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
A Enter the ending balance on this statement.             $                    describe the specific information that is inaccurate or in dispute and the
                                                                               basis for the dispute along with supporting documentation. If you believe
 B List outstanding deposits and other                                         the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on                                  with an identity theft report.
this statement. Enter the total in the column
                                                                          ■    In case of errors or questions about your electronic transfers,
to the right.
                                                                               telephone us at the number printed on the front of this statement or write
                                                                               us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
Description                       Amount
                                                                               you can, if you think your statement or receipt is wrong or if you need more
                                                                               information about a transfer on the statement or receipt. We must hear
                                                                               from you no later than 60 days after we sent you the FIRST statement on
                                                                               which the error or problem appeared.
                                                                               1. Tell us your name and account number (if any).
                                                                               2. Describe the error or the transfer you are unsure about, and explain as
                                                                                  clearly as you can why you believe it is an error or why you need more
                    Total     $                        + $
                                                                                  information.
                                                                               3. Tell us the dollar amount of the suspected error.
C Add A and B to calculate the subtotal.               = $
                                                                               We will investigate your complaint and will correct any error promptly. If
 D List outstanding checks, withdrawals, and                                   we take more than 10 business days to do this, we will credit your account
other debits to your account that do not appear                                for the amount you think is in error, so that you will have the use of the
on this statement. Enter the total in the column                               money during the time it takes us to complete our investigation.
to the right.

Number/Description                Amount




                    Total     $                        -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                                                                   . NMLSR D 399801
                                                                              ©2010 Wells Fargo Bank, N.A. All rights reserved




      Sheet Seq = 0143968
            Case 2:19-bk-24804-VZ                 Doc 583 Filed 04/15/20 Entered 04/15/20 21:08:25                                       Desc
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                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 address is:
                 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

  A true and correct copy of the foregoing document entitled (specify): MONTHLY OPERATING
  REPORT NO. 6 will be served or was served (a) on the judge in chambers in the form and manner
  required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 hyperlink to the document. On (date) April 15, 2020, I checked the CM/ECF docket for this bankruptcy
 case or adversary proceeding and determined that the following persons are on the Electronic Mail
 Notice List to receive NEF transmission at the email addresses stated below:

                                                                     Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 15, 2020, I served the following persons and/or entities at the last known addresses in
 this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
 judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
 after the document is filed.

     VIA U.S. MAIL
     United States Bankruptcy Court
     Central District of California
     Attn: Hon. Vincent Zurzolo
     Edward R. Roybal Federal Bldg./Courthouse
     255 East Temple Street, Suite 1360
     Los Angeles, CA 90012

                                                                     Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
 LBR, on (date) April 15, 2020, I served the following persons and/or entities by personal delivery,
 overnight mail service, or (for those who consented in writing to such service method), by facsimile
 transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
 delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document
 is filed.

                                                                     Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.

 April 15, 2020                      Rolanda L. Mori                                          /s/ Rolanda L. Mori
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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        Case 2:19-bk-24804-VZ                Doc 583 Filed 04/15/20 Entered 04/15/20 21:08:25                                       Desc
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
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         y.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
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         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
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    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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